Case 21-40834-drd11            Doc 282 Filed 01/18/22 Entered 01/18/22 09:11:46          Desc
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MOW 3007-1.1    (4/2021)



                           IN THE UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF MISSOURI

IN RE:                                                      )
                                                            )
INTERSTATE UNDERGROUND WAREHOUSE                            )
     AND INDUSTRIAL PARK, INC.                              )     Case. No. 21-40834
                                                            )     Chapter 11
                                Debtor.                     )

                                    OBJECTION TO CLAIM

       Comes now Movant Interstate Underground Warehouse and Industrial Park, Inc., and
hereby objects to the Proof of Claim filed by creditor, Robert Taylor, in the amount of
$100,000.00, and filed on October 27, 2021. The court claim number is 16.

     Your claim may be reduced, modified, or eliminated. You should read this
document carefully and discuss it with your attorney, if you have one.

    Pursuant to Local Rule 3007-1 (C), the Claimant shall have 30 days after service of the
    Objection in which to file a Response, if you do not want the court to eliminate or change
    your claim. The Response shall be in writing and state why the claim should be allowed as
    filed. If a Response is filed, the Court will schedule a hearing. If no timely Response is
    filed, the Court will enter an Order sustaining the Objection to the Claim. Parties not
    represented by an attorney shall mail a Response to the Court at U.S. Bankruptcy Court, 400
    E. 9th St., Room 1510, Kansas City, MO 64106. Debtor(s) not represented by an attorney
    must be served a copy of the Response by regular mail. If your Response is mailed, it must
    be early enough so that the court will receive it on or before 30 days after service of the
    Objection.

The basis for the objection is as follows: (PLEASE CHECK ONLY THE APPLICABLE
BOXES)

☒        The claim should be disallowed entirely because:

    (a) There was no proof attached to the Proof of Claim that Claimant owned a 1956 Porsche
        VIN xx56722. The documentation attached to the Proof of Claim does not evidence a
        VIN or ownership of a 1956 Porsche. There is no evidence that a 1956 Porsche was
        stolen from the Debtor’s premises. The Jackson County personal property tax
        declarations do not reflect that Robert Taylor ever owned a 1956 Porsche. While the
        Jackson County personal property tax declarations from 2001 to present do reflect
        ownership of other Porsche vehicles, it does not reflect a 1956 Porsche.
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      (b) When Leslie Reeder came to Kansas City to take over management of the Debtor, she
          discovered a shell of a Porsche that was stripped and did not have a VIN number on it. It
          appeared to have been torched, was missing tires, windows, front and back hoods. The
          vehicle did not have any indication that it was owned by Claimant. The vehicle was
          mistakenly determined to have been abandoned by a former tenant and it was towed by
          Class Act Towing. Class Act Towing made some repairs/restoration and sold the shell to
          Dennis Collins with Collins Brothers Jeep in Wylie, Texas for $3,500. Subsequently,
          Movant discovered that Claimant located the vehicle at Collins Brothers Jeep in Texas.
          Movant also learned that Claimant contacted Collins Brothers Jeep and retrieved the
          vehicle. Thus, Claimant has been made whole by the return of the vehicle after time and
          materials were invested in its restoration.
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Dated: 1/18/2022                                      KRIGEL & KRIGEL, P.C.

                                                       /s/ Erlene W. Krigel
                                                      Erlene W. Krigel, MO #29416
                                                      4520 Main St., Ste. 700
                                                      Kansas City, MO 64111
                                                      Telephone: (816) 756-5800
                                                      Fax: (816) 756-1999
                                                      Email: ekrigel@krigelandkrigel.com
                                                      ATTORNEYS FOR DEBTOR

                                  CERTIFICATE OF SERVICE

I , Erlene Krigel, hereby certify that a true and correct copy of the Objection to Claim was mailed
to Robert Taylor, by first class mail this 18th day of January, 2022,

Robert Taylor
118 W. 52th Street
Kansas City, MO 64112

And all other parties in interest and creditors who receive notice electronically via the Court’s
Electronic System.
                                                              /s/ Erlene W. Krigel
                                                              Erlene W. Krigel

Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106

Instructions: Complete all parts of the form and serve on the affected parties

ECF Event: Bankruptcy>Claim Actions>Objection to Claim (includes 30-day notice)
